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                 IN THE UNITED       STATES DISTRICT COURT
                 FOR THE    SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION



UNITED   STATES    OF AMERICA              *
                                           *


            v.                             *         CR   115-086


CUSHENA N.L.      JORDAN                   *




                                 ORDER




      On January 5, 2016,        Defendant Cushena N.L.                 Jordan pled

guilty to    conspiracy to       commit          theft      of     public money and

aggravated identity theft in violation of 18 U.S.C.                          § 371.

The Court imposed a sentence of 21 months on June 1, 2016.

Defendant did not appeal.            Indeed, Defendant waived her right

to appeal and to file any petition for collateral relief from

her   conviction      and     sentence          except       under    very   limited

circumstances.        (Doc.    22,    at       7.)     Nevertheless,      Defendant

seems poised to file a collateral motion under 28 U.S.C. §

2255 in that she now second-guesses her entry of a guilty

plea. (See Doc. 68.)          She claims she needs certain documents

to "look further into it."             (Id. at 4.)               More particularly,

Defendant seeks "a copy of the indictment,                          plea agreement,

sentencing transcript,         judge's signed order,                  and any other

information I am entitled to."                  (Id.      at 1.)

      First, Defendant has not been determined to be indigent

in this case.      Her trial counsel was retained, and she has not
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been    granted          authority       to    proceed        in    forma       pauperis.

Accordingly, she is not entitled to copies of anything without

payment.          Defendant        seems      to    acknowledge          this   fact      in     a

concluding note that states:                   "If money needs to be paid to

receive the information,                 please contact my mother . . . and

she will come pay!"               (Id. at 4.)          To the extent that she is

willing to pay for the documents she seeks,                               Defendant,          her

mother    or       some    other    representative            may       make    appropriate

arrangements (including order and payment) directly with the

Clerk of      Court.


        Second, even if indigent, it is well established that an

indigent defendant does not have an absolute constitutional

right to a free copy of her transcript or other court records

for use in a collateral proceeding. Jefferies v. Wainwright,

794    F.2d       1516,    1518     (11th     Cir.    1986)        ("Denial     of    a       free

transcript to an indigent defendant is unconstitutional only

where    the       transcript       is      valuable     to       the    defense      and       no

functional alternatives exist.");                      see also United States v.

MacCollom,         426    U.S.    317    (1976).        Rather,         28   U.S.C.       §    753

provides that a defendant in a § 2255 proceeding may not

receive       a     free    transcript             absent     a     showing       that         the

transcripts or documents are necessary to the resolution of a

nonfrivolous claim.               A defendant does not have the right to a

free transcript simply to search for possible error.                                  Colbert
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v. Beto,     439 F.2d 1130    (5th Cir.     1971).x

       Here,   Defendant     does     not   have        a    pending     collateral

proceeding and thus, she cannot meet this standard.                          Moreover,

Defendant provides no particularized reason for obtaining the

transcript or any other document.2               Accordingly, her motion to

receive a copy of these materials (doc. 68) is hereby DENIED.

Out of courtesy, however,           the Clerk is directed to provide a

copy   of    the   docket   sheet    and    a    copy       of    Defendant's        plea

agreement, which contains her waiver of collateral attack.

       ORDER ENTERED at Augusta, Georgia, this                         /d^      day of
October,     2016.




                                       HONORSaEE J.               RANDAL HALL
                                       UNITED/STATES DISTRICT JUDGE
                                        SOUTHERN DISTRICT OF GEORGIA




     1 The Eleventh Circuit has adopted as binding precedent
all decisions issued by the former Fifth Circuit prior to
October 1, 1981.    See Bonner v. City of Prichard, 661 F.2d
1206, 1209 (11th Cir. 1981) (en Jbanc) .

       2    Defendant   states   that she wishes                 to ensure    that    the
Government filed a motion for sentence reduction based upon
substantial assistance. The docket shows that an oral motion
for downward departure was made and granted at the sentencing
proceeding.   Whether Defendant is entitled to any further
reduction through a Rule 35(b) motion is within the province
of the Government.          See Fed.   R.       Crim.   P.       35(b)(1)("Upon the
government's motion made within one year of sentencing, the
court may reduce a sentence if the defendant,          after
sentencing, provided substantial assistance in investigating
or prosecuting another person." (emphasis added)).
